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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 BROEGE, NEUMANN, FISCHER & SHAVER, LLC
 Timothy P. Neumann, Esq. [TN6429]
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 Attorneys for the Debtors-in-Possession/Plaintiffs
 George Sariotis and Cindy Sariotis

 In Re:                                                     Case No.: 22-12916/MBK

 GEORGE SARIOTIS AND CINDY SARIOTIS,                        Chapter 11

    Debtors.                                                Judge: Michael B. Kaplan



 GEORGE SARIOTIS AND CINDY SARIOTIS,

    Plaintiffs,                                             Adv. Pro. No. 22-____

          v.

 THALIA SARIOTIS, ELLYNN WETTER and RYAN
 WETTER,

    Defendants.

 VERIFIED COMPLAINT FOR SALE OF REAL PROPERTY FREE AND CLEAR OF
         INTEREST OF CO-OWNERS PURSUANT TO 11 U.S.C. § 363(h)
                     OF THE BANKRUPTCY CODE

          George Sariotis and Cindy Sariotis, debtors and debtors-in-possession in the above

chapter 11 proceeding and the plaintiffs in this adversary proceeding (the “Debtors” or

“Plaintiffs”), by way of complaint against defendants, Thalia Sariotis, Ellynn Wetter, and Ryan

Wetter (“Defendants”) respectfully allege as follows:
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                              JURISDICTION AND VENUE

1.    This is a core proceeding under 28 U.S.C. § 157(b)(2)(M) and is brought pursuant to 11

      U.S.C. § 363(h) and Rule 7001 of the Federal Rules of Bankruptcy Procedure (“Fed. R.

      Bankr. P.”).

2.    This Court has jurisdiction as to the claims for relief sought herein under 28 U.S.C. §

      1334.

3.    Venue is proper pursuant to 28 U.S.C. § 1409(a).

4.    This Adversary Proceeding relates to the Chapter 11 proceeding styled In re: George

      Sariotis and Cindy Sariotis, Case No. 22-12916-MBK (Bankr. D. NJ) (Chapter 11), now

      pending in this Court (the “Main Case”).

                                      THE PARTIES

5.    Plaintiffs are the Debtors and Debtors-in-Possession in the Main Case and reside at 1801

      Pitney Street, Oakhurst, New Jersey 07755.

6.    Defendants are individuals who at all relevant times reside at 61 Redwood Drive, Ocean

      Township, New Jersey 07712.

                                FACTUAL ALLEGATIONS

7.    On April 10, 2022, Plaintiffs filed a voluntary joint Chapter 11 petition pursuant to

      section 301 of the United States Bankruptcy Code (11 U.S.C. 101 et seq, the “Bankruptcy

      Code”) with this Court and thereby initiated the Main Case.

8.    The Debtors own a 95% undivided interest as tenants in common in real property located

      at 61 Redwood Drive, Ocean Township, Monmouth County, New Jersey (the “Redwood

      Drive Property”) which is property of the bankruptcy estate pursuant to section 541(a) of

      the Bankruptcy Code.




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9.    Defendant Thalia Sariotis, the mother of Debtor George Sariotis, owns a 5% ownership

      interest in the Property, is not a Debtor, and resides at the Redwood Drive Property.

10.   A copy of the deed to the Property reflecting the current ownership is annexed hereto as

      Exhibit A.

11.   Defendant Ellynn Wetter resides at the Redwood Drive Property and may have a

      possessory interest in the Redwood Drive Property.

12.   Defendant Ryan Wetter claims to hold a power of attorney (“POA”) signed by Defendant

      Thalia Sariotis. A copy of the POA is annexed hereto as Exhibit B.

13.   Defendant Ryan Wetter also resides at the Redwood Drive Property and may have a

      possessory interest in the Redwood Drive Property.

14.   The Sellers have entered into a contract to sell the Redwood Drive Property for a price of

      $620,000.00, a copy of which is annexed as Exhibit C.

15.   Plaintiffs have entered into a contract to sell the Redwood Drive Property to Tony Smith

      and Elinor Smith for a sale price of $620,000.00 and have filed a motion [Dkt. 16] in the

      Main Case for authorization of the sale pursuant to section 363 of the Bankruptcy Code

      (the “Sale Motion”) which is returnable on May 5, 2022.

                                    FIRST COUNT
        (Sale of Redwood Drive Property Free and Clear of Interests of Defendants)

16.   Plaintiffs adopt, incorporate by reference, and allege herein all of the allegations set forth

      in paragraphs 1 through 15, inclusive, as if set forth fully and separately in this First

      Claim for Relief.

17.   Plaintiffs are debtors-in-possession and vested with the powers of a chapter 11 trustee

      pursuant to section 1107 of the Bankruptcy Code.




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18.   Section 363(h) of the Bankruptcy Code authorizes a trustee, under the terms set forth

      therein, to sell the interest of a nondebtor in property jointly owned with a debtor.

19.   The Redwood Drive Property is a single-family residence and partition is not practicable.

20.    Selling the entire Redwood Drive Property including the interests of Defendants will

      bring far more to the estate then would be realized if only a 95% interest in the property

      was sold. Consequently, sale of the estates undivided interest in the Redwood Drive

      Property would realize significantly less for the estate then sale of such property free of

      the interests of defendants.

21.   The benefit to the estate of a sale of the Redwood Drive Property free and clear of the

      interests of Defendants outweighs any detriment to the Defendants because:

       (a)   Sale of the property will significantly reduce the debt owed by the Debtors.

       (b)   The property was scheduled to be sold at a sheriff's sale just prior to the filing of

             the Chapter 11 petition and the interest of the Defendants would have been

             eradicated by that sale. In addition, junior liens would have been eradicated by a

             sheriff sale that will be paid out of the sales proceeds if the property is sold

             pursuant to the contract which will reduce the universe of unsecured creditors.

       (c)   The contract of sale provides for a use of occupancy of the property until

             September 30, 2022, which substantially mitigates any hardship Defendants might

             otherwise sustain.

       (d)   Defendants own only a 5% interest in the property and there is no equity in the

             property. Therefore, Defendants’ economic interest in the property has no value.1



1
 In the unlikely event there were net proceeds of sale, 5% of that amount will be paid to
Defended Thalia Sariotis.


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       (e)     Defendants have been occupying the Redwood Drive Property without paying

               rent and should be paying rent2.

22.    The Redwood Drive Property is not used in the production, transmission, or distribution,

       for sale, of electric energy or of natural or synthetic gas for heat, light, or power.

23.    In light of the foregoing, subject to the disposition of the Sale Motion, the Debtors

       respectfully request that the Court authorize the sale of the Redwood Drive Property to

       Tony Smith and Elinor Smith or such other person or entity making a higher or better offer,

       free and clear of all rights, title and interests of the Defendants.

24.    Because the Defendants might refuse to sign conveyancing documents, although such

       signatures are not required, Plaintiffs also seek a decree pursuant to Fed. R. Bankr. Proc

       7070 specifically enforcing the section 363 (h) of the Bankruptcy Code by: (a) entry of a

       judgment divesting title in the prospective purchasers of the Redwood Avenue Property;

       and (b) expressly authorizing and empowering Plaintiffs to sign the deed, affidavit of

       title, and all ancillary documents on behalf of Defendants and that decreeing that such

       signatures will be as legally binding and have the same force and effect as if signed by

       the Defendants.

25.    Plaintiffs also request that a copy of the order approving the sale and vesting title in the

       purchasers be recorded in the same place and manner as a deed and/or be attached to the

       deed of conveyance.

                                       SECOND COUNT
                              (Vacation and Turnover of Premises)




2
  Plaintiffs are not presently seeking rent from Defendants or the immediate turnover of
possession but reserve the right to seek immediate turnover and the payment of reasonable rent
in the event Defendants contest the Complaint.


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26.      Plaintiffs adopt, incorporate by reference, and allege herein all of the allegations set forth

         in paragraphs 1 through 25, inclusive, as if set forth fully and separately in this First

         Claim for Relief.

27.      Defendants must vacate the premises not later than September 30, 2022.

      WHEREFORE, Plaintiffs demand judgment against Defendants Thalia Sariotis, Ellyn

Wetter, and Ryan Wetter as follows:

      A. For judgment against Defendants determining that the Redwood Drive Property may be

sold in accordance with Sale Motion and free and clear of all rights, title, and interests of the

Defendants, including without limitation, the 5% undivided interest of Defendant Thalia Sariotis

and the possessory interests, if any, of Defendants.

      B. For judgment against Defendants decree specifically enforcing the section 363 (h) of the

Bankruptcy Code by: (a) entry of a judgment pursuant to Fed. R. Bankr. Proc 7070 authorizing

the sale of the Redwood Avenue Property vesting all title in the prospective purchasers of the

Redwood Drive Property; and (b) expressly authorizing and empowering Plaintiffs to sign the

deed, affidavit of title, and all ancillary documents on behalf of Defendants and that decreeing

that such signatures will be as legally binding and have the same force and effect as if signed by

the Defendants.

      C. For judgment against Defendants decreeing that a copy of the order approving the sale be

recorded in the same place and manner with the same force and effect as a deed signed by

Defendants.

      D. Ordering the Defendants to vacate the Redwood Drive Property and turnover possession

of same on or before September 30, 2022.




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   E. For such other and further relief as may be appropriate to enable the Plaintiffs to complete

the sale of the Redwood Drive Property in accordance with the contract of sale and have

Defendants vacate in a timely manner.

                                      BROEGE NEUMANN FISCHER & SHAVER, LLC
                                      Attorneys for Debtors/Plaintiffs
                                      George Sariotis and Cindy Sariotis

                                             /s/ Geoffrey P. Neumann
                                      By: _____________________________
                                             Geoffrey P. Neumann, Esq.
Dated: April 22, 2022



                                        VERIFICATION

       We have read the above complaint and declare under penalty of perjury that the facts set forth

in the complaint are true. We acknowledge that if any of said facts are materially false, we are

subject to punishment.

Dated: April 22, 2022                                 ___________________________
                                                      George Sariotis

                                                      ___________________________
                                                      Cindy Sariotis




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